   Case: 1:20-cv-06805 Document #: 22 Filed: 01/08/21 Page 1 of 15 PageID #:160




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISON


SAMANTHA TAVEL A/K/A CANDY                   )
CARTWRIGHT                                   )
    Plaintiff,                               )
                                             )
                      v.                     )
                                             )       Case Number: 20CV6805
MATT RIDDLE, WORLD WRESTLING                 )
ENTERTAINMENT, INC., EVOLVE                  )
WRESTLING, INC., AND GABE                    )
SAPOLSKY                                     )
     Defendant.                              )

    DEFENDANT GABE SAPOLSKY’S MOTION TO DISMISS COMPLAINT AND
                MEMORANDUM IN SUPPORT THEREOF

       NOW COMES the Defendant, Gabe Sapolsky, through his attorneys, Gal Pissetzky and

Lawrence Hyman, and respectfully requests this Honorable Court, pursuant to Federal Rules of

Civil Procedure 12(b)(2) and 12(b)(6), to enter an Order dismissing Count IV of the Complaint

against Mr. Sapolsky with prejudice. In support of his motion, Mr. Sapolsky states the following:

                            Introduction and Factual Background

       Count IV of the Plaintiff’s Complaint, as pleaded against Mr. Sapolsky, alleges violation

of the Illinois Gender Violence Act (“IGVA”). More specifically, Plaintiff alleges that Mr.

Sapolsky encouraged or assisted Defendant Matt Riddle to sexually assault her sometime around

April 2017 and on May 19, 2018. Comp., Ct. IV at ¶¶21, 27, 39-40. The Complaint alleges that

sometime around April, 2017 and May 19, 2018, Matt Riddle, a resident of Florida, sexually

assaulted Samantha Tavel, a resident of New York. Compl., Ct. IV at ¶¶ 21, 27. It further alleges

Mr. Sapolsky, a resident of Brookline, MA, violated the Illinois Gender Violence Act by “assisting




                                                 1
    Case: 1:20-cv-06805 Document #: 22 Filed: 01/08/21 Page 2 of 15 PageID #:161




and encouraging” the assault. Compl. at ¶39.1 While the Complaint contains explosive allegations,

it wholly fails to provide even the sparsest factual information as to where the alleged sexual

assaults occurred and when, where, and how Mr. Sapolsky’s liability arises.

          The Complaint claims Mr. Riddle first sexually assaulted Ms. Tavel in April of 2017 in a

vehicle parked in a parking lot of a wresting event promoted by Evolve. Compl., Ct, IV at ¶21.

The Complaint does not provide the specific date, city, nor state where the assault allegedly

occurred. As alleged, it is impossible for the assault to have occurred in Illinois. Evolve promoted

only two events in April 2017 -both were held in the state of New York. (Dkt. 13-4 at 2-3).

          The Complaint further alleges Mr. Riddle bragged to Mr. Sapolsky and other Evolve

employees that Mr. Riddle assaulted Ms. Tavel. Compl., Ct. IV at ¶22. The Complaint fails to

provide a timeframe, let alone a specific date, as to when Mr. Riddle allegedly bragged to Mr.

Sapolsky about committing the assault. Nor does the Complaint state where this bragging occurred

and what specific Evolve employees were present. Moreover, Evolve did not have employees at

any time. (Ex. 1). The talent that participated at the Evolve events were all independent contractors.

(Ex. 1)

          The Complaint further alleges that over a year later, on May 19, 2018, Evolve hosted a

professional wrestling event in Summit, Illinois. Compl., Ct. IV at ¶26. Following the event, Ms.

Tavel claims Mr. Riddle forced her to perform oral sex on him in front of other Evolve members

“while on a bus leaving the event”. Compl. , Ct. IV at ¶ 27 (emphasis added). The Complaint does

not allege that Mr. Sapolsky was present when the alleged incident happened, or that he had any

knowledge of it. The Complaint does not allege that Mr. Sapolsky or Evolve provided the




1The Complaint labels multiple paragraphs as paragraph 39. The above citation refers to
paragraph 39 in Count IV , page 9 of the Complaint.
                                                  2
    Case: 1:20-cv-06805 Document #: 22 Filed: 01/08/21 Page 3 of 15 PageID #:162




transportation used at the time of the assault. The Complaint does not allege that any person

notified Mr. Sapolsky of the assault.

       In fact, Evolve arranged for transportation from the event to take the independent

contractor performers to Michigan. (Ex. 2). Mr. Riddle declined to use the transport. Ms. Tavel

came to the May 19, 2018 event on her own volition. Mr. Sapolsky did not request her attendance

as she voluntarily appeared at her own expense. (Ex. 3) Ms. Tavel was never an employee of

Evolve or Mr. Sapolsky. (Ex. 1)

       The Compliant does not allege how long after Mr. Ranta’s van left the event the assault

occurred, or how Ms. Tavel knew it occurred in Illinois. Notably, the town of Summit is located

less than 30 miles west of the Illinois-Indiana state line. The attached exhibits to Mr. Riddle’s

motion to dismiss make clear the alleged assault did not occur in Illinois2.

       On May 19, 2018, Evolve held ‘Evolve 104’ at the Summit Park District. ‘Evolve 105’,

the next Evolve event, was set to be held the following day in Livonia, Michigan. (Dkt. 13-4 at 5).

Immediately after ‘Evolve 104’ concluded, Mr. Riddle, Ms. Tavel, James Dowell, Keith Lee, and

Anthony Henry departed in Joseph Ranta’s personal conversion van to a Michigan hotel. (Dkt. 13-

5). Mr. Ranta drove. (Dkt. 13-5 at ¶11).

       According to Mr. Ranta’s GPS, the party departed the Summit Park District at 12:26 a.m.

on May 20, 2018. Id. at ¶¶12-14. Mr. Ranta drove for approximately ten minutes before stopping

at a nearby gas station. After stopping for gas, the party traveled 33 miles in 48 minutes to a

Denny’s restaurant located at 6171 Melton Road in Portage, Indiana, arriving at 1:22 a.m.. Id. at

¶¶ 14-16. The van drove across the Illinois-Indiana state line into Indiana at around 1:10 a.m.,




2Mr. Sapolsky adopts and incorporate any and all Exhibits that are attached to Mr. Riddles’s and
WWE’s motions to dismiss.
                                                 3
    Case: 1:20-cv-06805 Document #: 22 Filed: 01/08/21 Page 4 of 15 PageID #:163




approximately 36 minutes after leaving the Summit area gas station and 12 minutes before arriving

at the Indiana Denny’s. Id. at ¶ 15. Only Mr. Lee fell asleep during the drive from the gas station

to the Denny’s. Id. at ¶ 17.

       After eating at Denny’s, the party drove to Mr. Ranta’s home in Mason, Michigan. Id. at

18-19. Almost every passenger fell asleep before arriving to Mr. Ranta’s home, but James Dowell

remained awake for the most of the drive. Id. After staying at the home for approximately 12

minutes, Mr. Ranta drove the party directly to the Comfort Inn Metro Airport hotel near Detroit,

Michigan. Id. at ¶ 21.

       The Complaint further alleges Mr. Riddle continued to force Ms. Tavel to commit sexual

acts on him for the next year and a half. Compl, Ct. IV. at ¶ 30. The Complaint does not specify

how many times Mr. Riddle subsequently assaulted her, where these assaults occurred, or their

underlying circumstances. The Complaint does not allege Mr. Sapolsky was notified that Mr.

Riddle committed these assaults. The Complaint alleges Mr. Riddle, acting as an agent and/or

employee of WWE and Evolve, forced Ms. Tavel to perform sex acts on him under the threat that

if she did not, she would not be booked for any further shows. Compl., Ct. IV at ¶ 30. The

Complaint does not allege that Mr. Riddle had the authority to control when and if she would be

booked, that Mr. Sapolsky gave Mr. Riddle that authority, or that Mr. Sapolsky himself had the

authority to control bookings. The Complaint does not allege that Mr. Sapolsky knew or had reason

to know of this threat or acquiesced to the quid pro quo in any way shape of form.

       The Complaint further alleges that on or about January 31, 2020, Ms. Tavel refused to

continue to allow Mr. Riddle to force her to perform sexual acts on her. Compl., Ct. IV at ¶ 32.

The Complaint claims that after she did so, Ms. Tavel’s future WWE and Evolve bookings were

terminated due to “issue of talent.” Compl., Ct. at ¶35. The Complaint does not state where her



                                                4
     Case: 1:20-cv-06805 Document #: 22 Filed: 01/08/21 Page 5 of 15 PageID #:164




future WWE or Evolve bookings were to take place. The Complaint does not allege that Mr.

Sapolsky allegedly made the decision to terminate Ms. Tavel’s future bookings due to anything

other than issues with her talent. The Complaint does not state where the alleged decision to

terminate the bookings was made or specifically by whom.

        Ms. Tavel filed the Complaint in the Circuit Court of Cook County on October 8, 2020

alleging Count IV, violation of the IGVA, against Mr. Sapolsky, as well as other counts alleging

violation of the same Act against Mr. Riddle, the World Wrestling Entertainment, Inc., Evolve

Wrestling, Inc., and Mr. Sapolsky, praying for $10 million in damages in each count. On

November, WWE removed the action to the Northern District of Illinois. (Dkt. No. 1).

                                          ARGUMENT

I.      This Court Must Dismiss the Complaint Because it Lacks Personal Jurisdiction

        Over Mr. Sapolsky

           A. Legal Standard

        A 12(b)(2) motion to dismiss turns on whether Ms. Tavel can establish this court’s personal

jurisdiction over Mr. Sapolsky. Fed. R. Civ. Pr. 12(b)(2). While the “compliant need not include

facts alleging personal jurisdiction,” Steel Warehouse of Wisconsin, Inc. v. Leach, 154 F.3d 712,

715 (7th Cir. 1998), once a defendant moves to dismiss for lack of personal jurisdiction, “the

plaintiff bears the burden of demonstrating the existence of jurisdiction.” Perdue Research

Foundation v. Sanofi-Synthelabo, S.A, 338 F.3d 773, 782 (7th Cir. 2003). “To determine whether

Plaintiff has met [her] burden, district courts may consider affidavits from both parties.” United

States v. Zaman, 152 F.Supp.3d 1041, 1045 (N.D. Ill. 2015) (citing Felland, 682 F.3d at 672).

When a defendant submits sworn statements contradicting assertions made by the complaint,

plaintiff then “has an obligation to go beyond the pleadings and submit affirmative evidence



                                                 5
    Case: 1:20-cv-06805 Document #: 22 Filed: 01/08/21 Page 6 of 15 PageID #:165




supporting the exercises of jurisdiction.” Id. (citing Purdue Research Foundation v. Sanofi-

Synthelabo, S.A., 338 F.3d 773, 783 (7th Cir. 2003). 783. Courts “accept as true any facts contained

in the defendant’s affidavits that remain unrefuted by the plaintiff.” GCIU-Employer Ret. Fund v.

Goldfarb Corp., 565 F.3d 1018, 1020 n.1 (7th Cir. 2009).

        If this court resolves the motion without an evidentiary hearing, the plaintiff “need only

make out a prima facie case of personal jurisdiction.” Purdue Research Found., 338 F.3d at 782.

An evidentiary hearing is required where the submissions reveal disputed facts that are material as

to whether plaintiff has made a prima facie showing. Wilson v. Nouvag GmbH, 2018 WL 1565602,

at * 2 (N.D. Ill. 2018).

        When weighing whether a federal court has personal jurisdiction over an individual, the

question “is governed by the law of the forum state.” Felland v. Clifton, 682 F.3d 665, 672 (7th

Cir. 2012). Here, the Illinois long-arm statute applies, and this court’s exercise of jurisdiction is

permitted to the full extent of the Fourteenth Amendment’s Due Process Clause. Tamburo v.

Dworkin, 601 F.3d 693, 700 (7th Cir. 2010) (citing 735 ILCS 5/2-209(c)). In other words, the state

and federal inquiries merge. Citadel Group Ltd. v. Wash. Reg’l Med. Ctr., 536 F.3d 757, 760 (7th

Cir. 2008).

        Under these parameters, jurisdiction can be established either in ‘general’ or ‘specific’

terms. Goodyear Dunlop Tires Operations, S.A. v. Brown, 564 U.S. 915, 919 (2011). General

jurisdiction requires such ‘continuous and systematic’ contacts to the forum state that the cause of

action need not even arise out of them. Helicopteros Nacionales de Colombia S.A. v. Hall, 466

U.S. 408, 416 (1984). Accordingly, the “threshold for general jurisdiction is high; the contact must

be sufficiently extensive and pervasive to approximate physical presence.” Tamburo v. Dworkin,

601 F.3d 693, 701 (7th Cir. 2010). General jurisdiction “is proper only in the limited number of



                                                 6
    Case: 1:20-cv-06805 Document #: 22 Filed: 01/08/21 Page 7 of 15 PageID #:166




fora in which the defendant can be said to be ‘at home.’” Advance Tactical Ordnance Sys., LLC v.

Real Action Paintball, Inc.,751 F.3d 796, 800 (7th Cir. 2014). As such mere isolated or sporadic

contacts -such as occasional visits to the forum state – are insufficient to establish general

jurisdiction. Burger King v. Rudzewicz, 471 U.S. 672, 475 (1985).

       Unlike general jurisdiction, specific jurisdiction requires the conduct subject to the suit

must directly arise out of the defendant’s contacts with the forum state. Tamburo, 601 F.3d at 702.

In determining whether this court may exercise specific jurisdiction, this court looks to whether:

1) the defendant purposefully directed his activities at the forum state or purposefully availed

himself of the privilege of conducting business in that state, and 2) the alleged injury arises out of

the defendant’s forum-related activities. Burger King, 471 U.S. at 472.

           B. Analysis

       Though the Complaint does not specify whether it relies on specific or general jurisdiction,

neither applies here. Mr. Sapolsky is clearly not subject to this court’s general jurisdiction as he

was served in, and resides in, the state of Massachusetts. Mr. Sapolsky does not maintain any

residence in the state of Illinois, and does not have any ties to Illinois. Such lack contacts negate

any claim that Mr. Sapolsky has such pervasive connections to Illinois that he can reasonably

anticipate being hailed into an Illinois court for any basis.

       Though specific jurisdiction entails a lower bar than does general jurisdiction , the facts at

issue here do not establish specific jurisdiction. As detailed above, specific jurisdiction is only

established if Mr. Sapolsky purposefully directed his activity at the forum state, or purposefully

availed himself of the privilege of conducting business in that state, and 2) if Ms. Tavel’s alleged

injuries arise out of those activities. Burger King, 471 U.S. at 472. The purported connection that

ties the cause of action to Illinois is the mere allegation that Ms. Tavel was allegedly assaulted



                                                  7
    Case: 1:20-cv-06805 Document #: 22 Filed: 01/08/21 Page 8 of 15 PageID #:167




after leaving an event held in Illinois that was put on by Evolve. The Complaint does not allege

how Mr. Sapolsky encouraged or assisted the commission of gender violence against Ms. Tavel in

the state of Illinois. The Complaint’s ‘vague generalizations’ that Mr. Sapolsky created an

atmosphere of toxic misogyny that encouraged gender violation “are insufficient to support

personal jurisdiction.” Mohammed v. Uber Techs, Inc., 237 F. Supp. 3d 719, 733 (N.D. Ill. 2017).

Therefore, to survive a jurisdictional challenge, the cause of action must arise directly from Mr.

Sapolsky’s part in hosting the May 19 event. The most cursory review of the underlying factual

circumstances reveals the Complaint’s allegations cannot connect Mr. Sapolsky to the alleged

assault or the state of Illinois.

        As an initial matter, it is important to point out that Mr. Sapolsky did not hire Ms. Tavel to

perform at this event. She came to the event on her volition, insisted on attending the event, and

paid her own expenses. (Ex. 3) Also, although Mr. Riddle performed at the event, he did so as an

independent contractor. At no point did Mr. Sapolsky or Evolve hire Mr. Riddle or Ms. Tavel as

employees of Evolve. In fact, Evolve only employs two people -Mr. Sapolsky and Sal Hamaoui.

        Further decreasing the event’s relevance, Ms. Tavel does not allege that Mr. Riddle

assaulted her during the event. Instead, she claims Mr. Riddle assaulted her “after the Evolve event

. . . while on a bus leaving the event,” a bus that was neither provided by Mr. Sapolsky nor Evolve.

Compl., Count IV at ¶ 27 (emphasis added), Dkt. 13-5 at ¶ 11. In fact, the bus was not even a bus,

but an old van belonging to and driven by Mr. Ranta. Moreover, Mr. Sapolsky was not in Mr.

Ranta’s van with Riddle and Tavel, and had no knowledge of the events once the couple left the

Evolve 104 show.

        Accordingly, any connection between the Evolve event or Mr. Sapolsky and the

Complaint’s allegations terminated long before the alleged assault that forms the basis of the



                                                  8
      Case: 1:20-cv-06805 Document #: 22 Filed: 01/08/21 Page 9 of 15 PageID #:168




Complaint had occurred. Indeed, as the Complaint make clear, the alleged assault did not occur

until after Mr. Ranta began driving his personal van and its passengers from the Indiana Denny’s

to his Michigan home. (Dkt. 13-5 at ¶18-21; Dkt. 13-3).

         The May 19 event, Mr. Sapolsky’s sole connection to the state of Illinois, is not casually

connected to the conduct alleged in support of Count IV. The assault did not occur at the ‘Evolve

104’ event or in Illinois. The assault did not occur in a vehicle provided by Mr. Sapolsky or Evolve.

Mr. Sapolsky was not present during the alleged assault, and the Complaint does not allege that he

had any advance knowledge of the assault. The alleged assault happened in a private vehicle

occupied by individuals that voluntarily decided to travel together. The allegations underlying the

Complaint therefore do not arise directly out of any actions by Mr. Sapolsky took or the Evolve

event in Summit, IL on May 19, 2018. Consequently, this court cannot exercise specific

jurisdiction over Mr. Sapolsky and should dismiss the Count IV of the Complaint.

II.      Plaintiff fails to state a cognizable claim under the Gender Violence Act

         A. Legal Standard

         Under Fed. R. Civ. P. Rule 12(b)(6), a motion to dismiss for failure to state a claim tests

the sufficiency of a claim, not the merits of the claim. Autry v. Northwest Premium Servs., Inc.,

144 F.3d 1037, 1039 (7th Cir. 1998). A court should grant a motion to dismiss pursuant to Rule

12(b)(6) when a plaintiff fails to plead sufficient facts, accepted as true, to state a claim for relief

that is plausible on its face. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). Under 28 U.S.C. § 1332.

The Court applies the substantive law of the forum state, here, Illinois. Davis v. G.N. Mortg. Corp.,

396 F.3d 869, 876 (7th Cir. 2005). To survive a Rule 12(b)(6) motion, the complaint must: (1)

describe the claim in sufficient detail to give the defendant fair notice of what the claim is and the




                                                   9
    Case: 1:20-cv-06805 Document #: 22 Filed: 01/08/21 Page 10 of 15 PageID #:169




grounds upon which it rests, and (2) plausibly suggest that the plaintiff has a right to relief above

a speculative level. Doe v. Soebeck, 941 F. Supp. 2d 1018, 1020 (S.D. Ill. 2013).

        Count IV against Mr. Sapolsky pleads gender-related violence, pursuant to the Illinois

Gender Violence Act (IGVA), 740 ILCS §82/2-1 et seq., (West 2021), effective Jan. 1, 2004. The

Act defines gender-related violence as follows:

        (1) One or more acts of violence or physical aggression satisfying the elements of
        battery under the laws of Illinois that are committed, at least in part, on the basis of
        a person’s sex, whether or not those acts have resulted in criminal charges,
        prosecution, or conviction.

        (2) A physical intrusion or physical invasion of a sexual nature under coercive
        conditions satisfying the elements of battery under the laws of Illinois, whether or
        not the act or acts resulted in criminal charges, prosecution, or conviction.

        (3) A threat of an act described in item (1) or (2) causing a realistic apprehension
        that the originator of the threat will commit the act. 740 ILCS 82/5 (West 2021).

A person perpetrates gender-related violence, pursuant to the Act, by either personally committing

the gender-related violence or by personally encouraging or assisting the act or acts of gender-

related violence. 740 ILCS 82/10.

        B. Analysis

        Ms. Tavel pleads, pursuant to the Illinois statute detailed above, that Mr. Sapolsky had a

duty of ordinary care to avoid causing injury and/or harmful or offensive contact, including acts

of gender violence, and to refrain from encouraging or assisting tortious conduct, including acts of

gender violence, committed by Mr. Riddle against her. (Compl., Ct. IV, ¶¶ 36-37.) As an initial

matter, the statute does not set forth liability for common law breaches of duty, as the complaint

pleads. Instead, to be liable, i.e. a “perpetrator” under the Act, the defendant must either

“personally commit the gender-related violence, or personally encourage or assist the act or acts

of gender-related violence.” 740 ILCS 82/10.



                                                  10
   Case: 1:20-cv-06805 Document #: 22 Filed: 01/08/21 Page 11 of 15 PageID #:170




          The Complaint does not set forth any facts showing Mr. Sapolsky is a perpetrator under

either of the criteria. It does not allege Mr. Sapolsky personally committed an act of gender-related

violence against Ms. Tavel. Instead, Ms. Tavel alleges Mr. Sapolsky “by and through its agents

and/or employees” violated the act. (Compl., Ct. IV at ¶ 38). Importantly, Mr. Sapolsky is not a

corporate entity, and does not have any agents or employees. Even if that were so, the Complaint

does not specifically allege who these agents/employees are, how Mr. Sapolsky controlled their

actions in such a way that they could be said to be his employees/agents, or how these purported

employee/agents specifically “encouraged or assisted” in the commission gender violence acts

against Ms. Tavel. (Compl., Ct. IV ¶39). The Complaint’s “labels and conclusions” without factual

support are insufficient to plead more than speculative relief. Ashcroft v. Iqbal, 556 U.S. 662, 678

(2009).

          Even if the Complaint contained such facts, it is of no matter. As a recent Northern District

of Illinois Court held, “because ‘one does not typically understand . . . legal entities to ‘personally’

perform actions,” the Act’s “personally commit” and “personally encourage” phrasing “reinforces

the conclusion that the IGVA only governs natural persons.” Robinson v. FedEx Ground Package

System, Inc., 19 cv 1710, 2020 WL 586866, at *3 (N.D. Ill. Feb. 6, 2020) (citing Fayfar v. CF

Mgmt. -IL LLC, No. 12 C 3013, 2012 WL 6062662, at *2 (N.D. Ill. Nov. 4, 2012)).

          The Complaint’s factual allegations pertaining to Mr. Sapolsky as a person fare no better.

The Complaint specifically alleges that after Ms. Tavel refused to perform sex acts on Mr. Riddle:

          Mr. Riddle “informed the WWE and Evolve that he did not want [Ms. Tavel]
          working with the WWE and Evolve due to [her] no longer performing forced sexual
          acts on him;” (Compl., Ct. IV at ¶34) and

          "WWE, Evolve, and [Mr. Sapolsky], then “continued to tacitly approve of
          defendant, Matt Riddle’s conduct, and assisted and encouraged his behavior by
          removing [Ms. Tavel] from future bookings with WWE and Evolve.”(Compl, Ct.
          IV at ¶35) (emphasis added).

                                                   11
   Case: 1:20-cv-06805 Document #: 22 Filed: 01/08/21 Page 12 of 15 PageID #:171




The Complaint does not allege Mr. Riddle ever informed Mr. Sapolsky that Ms. Tavel had rejected

his advances before the violence ceased entirely. Even if such knowledge is attributed to Mr.

Sapolsky, it cannot infer encouragement or assistance by him of acts of gender-violence by Mr.

Riddle to Ms. Tavel because the so-called tacit approval, removing Ms. Tavel from future

bookings, occurred after the violence had ended. As federal and Illinois courts uniformly hold,

these deficient allegations foreclose a cause of action against Mr. Sapolsky.

        The Southern District of Illinois Court’s holding in Doe v. Sobeck, 941 F. Supp. 2d 1018

(S.D. Ill. 2013) is instructive. Noting “no Illinois court has defined exactly what ‘personally

encouraging or assisting’ entails,” the court turned to ‘encourage’s’ and ‘assist’s’ dictionary

definitions: “‘to inspire with courage, spirit, or hope,’ ‘to attempt to persuade,’ ‘to spur on,’ or ‘to

give help or patronage to,’” and “‘to give support or aid,’” respectively. Id. at 1028 (internal

citations omitted). Both words’ definitions, the court concluded, “impl[y] a conscious, active role,

not merely a failure to act or tolerance of a situation.” Id.

        Adopting the words’ plain meanings here is consistent with prior courts’ holdings. Those

cases, the Sobeck court stressed, separated defendants who simply failed to stop gender-related

violence despite having knowledge it was occurring, from those who did not just turn a blind eye

to those actions but also either actively promoted the perpetrator’s violence acts or retaliated

against the victim. For instance, a township and its employees’ failure to supervise a township

supervisor who committed gender-related violence did not constitute encouragement or assistance.

Id. at 1027 (citing Watkins v. Steiner, 2013 WL 166737, *3-4 (Ill. App. Ct. Jan. 14, 2013).

Similarly, a college fraternity’s failure to warn a female student who became intoxicated on the

premises of its local chapter of the possibility of assault before she left with another party attendee,

who then assaulted her, did not plead encouragement or assistance. Doe v. Psi Upsilon Int'l, 2011

                                                  12
   Case: 1:20-cv-06805 Document #: 22 Filed: 01/08/21 Page 13 of 15 PageID #:172




IL App (1st) 110306 (Ill.App.Ct.2011). In contrast, encouragement of gender-based violence

existed where supervisors not only knew of an employee’s gender-violence acts, but took active

steps such as promoting the employee or forcing the employee to quit to avoid the violence. Id. at

1028 (citing Cruz v. Primary Staffing, Inc., No. 10 C 5653, 2011 WL 1042629, at *1 (N.D. Ill.

Mar. 22, 2011), and Smith v. Rosebud Farmstand, 909 F.Supp.2d 100, 1009 (N.D. Ill.2012)).

       Based on its analysis, the Sobeck court opined, “a defendant’s failure to act against a

possible harm [is] not encouragement or assistance,” under the Act. Id. at 1028. Turning to the

facts before it, that court held that because the complaint only alleged the defendants failed to

protect the plaintiff from the perpetrator, it therefore failed to properly state a claim under the

IGVA. Id. at 1028.

       As Sobeck and the cases to which it cites make clear, the Complaint’s allegations that Mr.

Sapolsky “knew or had reason to know that [Mr. Riddle] had a propensity to commit [acts of

gender-violence],” but turned a blind eye simply fail to properly plead a cause of action under the

IGVA, where he took no actions to encourage or assist before the violence had ended. (Compl.,

Ct. VI at ¶ 39). Like Sobeck, the Complaint does not allege Mr. Sapolsky encouraged or assisted

Mr. Riddle to assault Ms. Tavel by “giving him a pep talk, telling him he thought it “would be a

good idea”, or in any way spurring Mr. Riddle into violence against Ms. Tavel. Sobeck, 941 F.

Supp. 2d at 1028. The Complaint’s accusation that Mr. Sapolsky “tacitly” approved of Mr.

Riddle’s alleged assault by allegedly burying his head in the sand insufficiently pleads

encouragement or assistance.

       The Complaint’s allegation that Mr. Sapolsky removed Ms. Tavel from future bookings

does not save the Complaint. (Compl.. Ct. IV at ¶35). Importantly, for this act to fall within the

realm of encouragement under the IGVA, Mr. Sapolsky must have done so before the alleged



                                                13
   Case: 1:20-cv-06805 Document #: 22 Filed: 01/08/21 Page 14 of 15 PageID #:173




violence had ended. Indeed, the fact that the plaintiffs in Cruz and Smith specifically alleged they

complained to the defendants about gender-related violence before the defendants committed the

alleged affirmative acts set those cases apart. Sobeck, 941 F. Supp. 2d at 1028. The same cannot

be said here. Instead, Ms. Tavel pleads Mr. Riddle informed only WWE and Evolve, and only after

the violence had ended. The Plaintiff’s facts, like those in Watkins, do not infer that Mr. Sapolsky

actively encouraged Riddle to engage in gender-based violence against her. When accepted as true,

these facts do not rise above the speculative level. They fail to state a claim for relief pursuant to

the Gender Violence Act.

       WHEREFORE, Mr. Sapolsky respectfully requests that this Honorable Court grant his

motion to dismiss pursuant to Federal Rules of Civil Procedure 12(b)(2) and 12(b)(6).

                                               Respectfully Submitted,

                                               /s/Gal Pissetzky
                                               Gal Pissetzky
                                               Pissetzky Law LLC
                                               35 E. Wacker Dr.
                                               Suite 1980
                                               Chicago IL 60601
                                               (847)736-7756
                                               gal@pissetzkylaw.com

                                               /s/ Lawrence H. Hyman
                                               Lawrence H. Hyman (#1297929)
                                               LAWRENCE H. HYMAN & ASSOCIATES
                                               111 West Washington Street - Suite 1025
                                               Chicago, Illinois 60602
                                               (T): (312) 346-6766
                                               (F): (312) 346-9688
                                               (E): hymanlaw@lhyman.com




                                                 14
   Case: 1:20-cv-06805 Document #: 22 Filed: 01/08/21 Page 15 of 15 PageID #:174




                                CERTIFICATE OF SERVICE


       I, Gal Pissetzky, the attorney for Defendant, hereby certify that on January 8, 2021, I filed
the above-described documents on the CM/ECF system of the United States District Court for
the Northern District of Illinois, which constitutes service of the same.

                                                     /s/Gal Pissetzky
                                                     35 E. Wacker Dr.
                                                     Suite 1980
                                                     Chicago IL 60601
                                                     (847)736-7756
                                                     gal@pissetzkylaw.com




                                                15
